Case 1:21-cv-22492-KMW Document 11-2 Entered on FLSD Docket 07/14/2021 Page 1 of 10




            EXHIBIT 2
  Case 1:21-cv-22492-KMW Document 11-2 Entered on FLSD Docket 07/14/2021 Page 2 of 10




From:                             Derek Shaffer
Sent:                             Wednesday, July 14, 2021 5:49 PM
To:                               'St Laurent, Louise R'; 'Uthmeier, James'; 'James Percival'; 'Jason Hilborn'; 'Treadwell,
                                  Ray'; 'Edwards, Virginia'
Cc:                               John OSullivan; Olga Vieira; Jonathan Cooper; Olga Garcia
Subject:                          RE: Forthcoming Lawsuit in S.D. Fla. by Norwegian Cruise Lines vs. Florida's Surgeon
                                  General Seeking Preliminary Injunction


Louise: We’ll be requesting that the Court convene a status conference at its earliest convenience. Please let us know
what your position is as to our request for a status conference, and we’ll so report when we move the Court, as we will
shortly. Thanks, and best,

Derek

From: Derek Shaffer
Sent: Wednesday, July 14, 2021 12:42 PM
To: 'St Laurent, Louise R' <Louise.StLaurent@flhealth.gov>; 'Uthmeier, James' <James.Uthmeier@eog.myflorida.com>;
'James Percival' <James.Percival@myfloridalegal.com>; 'Jason Hilborn' <Jason.Hilborn@myfloridalegal.com>; 'Treadwell,
Ray' <Ray.Treadwell@eog.myflorida.com>; Edwards, Virginia <Virginia.Edwards@flhealth.gov>
Cc: John OSullivan <johnosullivan@quinnemanuel.com>; Olga Vieira <olgavieira@quinnemanuel.com>; Jonathan Cooper
<jonathancooper@quinnemanuel.com>; Olga Garcia <olgagarcia@quinnemanuel.com>
Subject: RE: Forthcoming Lawsuit in S.D. Fla. by Norwegian Cruise Lines vs. Florida's Surgeon General Seeking
Preliminary Injunction

Thank you, Louise. We appreciate that and will email the Court to that effect, copying you and Virginia. Best,

Derek

From: St Laurent, Louise R [mailto:Louise.StLaurent@flhealth.gov]
Sent: Wednesday, July 14, 2021 12:20 PM
To: Derek Shaffer <derekshaffer@quinnemanuel.com>; 'Uthmeier, James' <James.Uthmeier@eog.myflorida.com>;
'James Percival' <James.Percival@myfloridalegal.com>; 'Jason Hilborn' <Jason.Hilborn@myfloridalegal.com>; 'Treadwell,
Ray' <Ray.Treadwell@eog.myflorida.com>; Edwards, Virginia <Virginia.Edwards@flhealth.gov>
Cc: John OSullivan <johnosullivan@quinnemanuel.com>; Olga Vieira <olgavieira@quinnemanuel.com>; Jonathan Cooper
<jonathancooper@quinnemanuel.com>; Olga Garcia <olgagarcia@quinnemanuel.com>
Subject: RE: Forthcoming Lawsuit in S.D. Fla. by Norwegian Cruise Lines vs. Florida's Surgeon General Seeking
Preliminary Injunction

                                   [EXTERNAL EMAIL from louise.stlaurent@flhealth.gov]


Derek,

We don’t oppose those motions.

Thanks,

Louise St. Laurent
                                                             1
  Case 1:21-cv-22492-KMW Document 11-2 Entered on FLSD Docket 07/14/2021 Page 3 of 10

General Counsel
Office of the General Counsel
Florida Department of Health
4052 Bald Cypress Way, A-02
Tallahassee, FL 32399
(850) 245-4956 (Office)
                    )
(850) 245-4790 (Fax)

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From: Derek Shaffer <derekshaffer@quinnemanuel.com>
Sent: Wednesday, July 14, 2021 12:16 PM
To: St Laurent, Louise R <Louise.StLaurent@flhealth.gov>; 'Uthmeier, James' <James.Uthmeier@eog.myflorida.com>;
'James Percival' <James.Percival@myfloridalegal.com>; 'Jason Hilborn' <Jason.Hilborn@myfloridalegal.com>; 'Treadwell,
Ray' <Ray.Treadwell@eog.myflorida.com>; Edwards, Virginia <Virginia.Edwards@flhealth.gov>
Cc: John OSullivan <johnosullivan@quinnemanuel.com>; Olga Vieira <olgavieira@quinnemanuel.com>; Jonathan Cooper
<jonathancooper@quinnemanuel.com>; Olga Garcia <olgagarcia@quinnemanuel.com>
Subject: RE: Forthcoming Lawsuit in S.D. Fla. by Norwegian Cruise Lines vs. Florida's Surgeon General Seeking
Preliminary Injunction

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content is safe.
Please note that Jon Cooper and I have each filed motions to appear pro hac vice, attached. We’d be grateful if you
could let us know whether we can report to the Court that these are unopposed such that the Court can simply grant
them as requested. As indicated, we’ll be standing by and at your disposal if you want to talk. Thanks, and best,

Derek

From: Derek Shaffer
Sent: Wednesday, July 14, 2021 9:30 AM
To: 'St Laurent, Louise R' <Louise.StLaurent@flhealth.gov>; Uthmeier, James <James.Uthmeier@eog.myflorida.com>
Cc: James Percival <James.Percival@myfloridalegal.com>; Jason Hilborn <Jason.Hilborn@myfloridalegal.com>; John
OSullivan <johnosullivan@quinnemanuel.com>; Olga Vieira <olgavieira@quinnemanuel.com>; Jonathan Cooper
<jonathancooper@quinnemanuel.com>; Treadwell, Ray <Ray.Treadwell@eog.myflorida.com>
Subject: RE: Forthcoming Lawsuit in S.D. Fla. by Norwegian Cruise Lines vs. Florida's Surgeon General Seeking
Preliminary Injunction

Dear Ms. St Laurent: I’m glad to be meeting you and looking forward to working with you on this. You should feel free
to call me Derek. Please know that I don’t mean to suggest how your office should be handling defense, assuming it’s
handling defense. What I do mean to do – and need to do – is figure out a fair, sensible, workable way to get the PI
question briefed, heard and decided in time to protect my client against impending irreparable harm. That’s what I’m
driving at, and I’m doing so while offering to be reasonable and accommodating within the outer limit of that
imperative. And I’ll reiterate to you what I’ve conveyed to James repeatedly: To the extent you want to share your
                                                           2
  Case 1:21-cv-22492-KMW Document 11-2 Entered on FLSD Docket 07/14/2021 Page 4 of 10
perspective on how the schedule should go and meet and confer with us in a good-faith effort to arrive at an agreed
schedule, I’m eager to talk and available any time today. Please buzz me at your convenience or pick a time when we
can jump on a call together. Sooner is of course better and I’ll be glad to host any call. Best,

Derek

From: St Laurent, Louise R [mailto:Louise.StLaurent@flhealth.gov]
Sent: Wednesday, July 14, 2021 9:14 AM
To: Derek Shaffer <derekshaffer@quinnemanuel.com>; Uthmeier, James <James.Uthmeier@eog.myflorida.com>
Cc: James Percival <James.Percival@myfloridalegal.com>; Jason Hilborn <Jason.Hilborn@myfloridalegal.com>; John
OSullivan <johnosullivan@quinnemanuel.com>; Olga Vieira <olgavieira@quinnemanuel.com>; Jonathan Cooper
<jonathancooper@quinnemanuel.com>; Treadwell, Ray <Ray.Treadwell@eog.myflorida.com>
Subject: RE: Forthcoming Lawsuit in S.D. Fla. by Norwegian Cruise Lines vs. Florida's Surgeon General Seeking
Preliminary Injunction

                                   [EXTERNAL EMAIL from louise.stlaurent@flhealth.gov]


Mr. Shaffer,

Although I can understand your desire to provide suggestions on how my office should react to your client’s lawsuit,
including directing timeframes in which to react, I would remind you that as the Department of Health’s General
Counsel, this is within the authority of my office.

We will be in touch.

Thank you,

Louise St. Laurent
General Counsel
Office of the General Counsel
Florida Department of Health
4052 Bald Cypress Way, A-02
Tallahassee, FL 32399
(850) 245-4956 (Office)

(850) 245-4790 (Fax)

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Please consider the environment before printing this e-mail.


From: Derek Shaffer <derekshaffer@quinnemanuel.com>
Sent: Wednesday, July 14, 2021 9:04 AM
To: Uthmeier, James <James.Uthmeier@eog.myflorida.com>
Cc: James Percival <James.Percival@myfloridalegal.com>; Jason Hilborn <Jason.Hilborn@myfloridalegal.com>; John
                                                           3
  Case 1:21-cv-22492-KMW Document 11-2 Entered on FLSD Docket 07/14/2021 Page 5 of 10
OSullivan <johnosullivan@quinnemanuel.com>; Olga Vieira <olgavieira@quinnemanuel.com>; Jonathan Cooper
<jonathancooper@quinnemanuel.com>; St Laurent, Louise R <Louise.StLaurent@flhealth.gov>; Treadwell, Ray
<Ray.Treadwell@eog.myflorida.com>
Subject: Re: Forthcoming Lawsuit in S.D. Fla. by Norwegian Cruise Lines vs. Florida's Surgeon General Seeking
Preliminary Injunction


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content is safe.

Thanks, James, but our summons went out yesterday, so we’ll proceed that way. If you want any extensions as a matter
of courtesy, we’ll be glad to engage courteously about them. As for the PI schedule, I can’t fathom why our conversation
would wait until Monday other than as a result of stalling. I trust your side doesn’t want to stall — and I hope you all
know better than to think that we’d let you stall. Without doubting that y’all have other important matters on your
docket (as do we all), this one is especially important and time-sensitive. So I suggest that some responsible attorney(s)
be at work on a PI response well in advance of Monday. Although we’ll consider agreeing to reasonable tweaks and
continue to invite an actual prompt conversation (i.e., today), we stand by our position that next Tuesday is an
appropriate deadline for your response and we reiterate that the schedule in all events needs to permit hearing,
followed by ruling, in advance of August 6. If you want to discuss specifics of that schedule, I can accommodate any time
that’s convenient for you today or you can call me on my cell at                  any time. Thanks, and best,

- Derek

Sent from my hand-held device


          On Jul 14, 2021, at 8:52 AM, Uthmeier, James <James.Uthmeier@eog.myflorida.com> wrote:


                                  [EXTERNAL EMAIL from james.uthmeier@eog.myflorida.com]


          Derek-

          While we certainly do not view the federal rules as mere formalities, we are willing to accept service by
          email if you will afford the agency the extended, 60 day period, to respond to the complaint.

          Regarding a discussion, our team is jammed this week on several other pressing matters but we would
          be happy to do a call on Monday. Please let us know your availability.

          Thanks,
          James

          Get Outlook for iOS

          From: Derek Shaffer <derekshaffer@quinnemanuel.com>
          Sent: Tuesday, July 13, 2021 3:02 PM
          To: Uthmeier, James; 'James Percival'; Jason Hilborn
          Cc: John OSullivan; Olga Vieira; Jonathan Cooper; St Laurent, Louise; Treadwell, Ray
          Subject: RE: Forthcoming Lawsuit in S.D. Fla. by Norwegian Cruise Lines vs. Florida's Surgeon General
          Seeking Preliminary Injunction


                                                              4
Case 1:21-cv-22492-KMW Document 11-2 Entered on FLSD Docket 07/14/2021 Page 6 of 10
   Thanks for the response and we’re glad to be talking. The schedule that concerns us right now is the
   schedule for the PI. If you want to extend deadline for responding to the complaint, we’re glad to push
   that back. And we’re hoping you’ll agree to accept service without standing upon formalities. If not,
   then we’ll proceed via summons (although I’m not sure how that helps anyone). Please let us know if a
   call would be helpful to discuss specifics; we’d be glad to host one.

   From: Uthmeier, James [mailto:James.Uthmeier@eog.myflorida.com]
   Sent: Tuesday, July 13, 2021 2:55 PM
   To: Derek Shaffer <derekshaffer@quinnemanuel.com>; 'James Percival'
   <James.Percival@myfloridalegal.com>; Jason Hilborn <Jason.Hilborn@myfloridalegal.com>
   Cc: John OSullivan <johnosullivan@quinnemanuel.com>; Olga Vieira <olgavieira@quinnemanuel.com>;
   Jonathan Cooper <jonathancooper@quinnemanuel.com>; St Laurent, Louise
   <louise.stlaurent@flhealth.gov>; Treadwell, Ray <Ray.Treadwell@eog.myflorida.com>
   Subject: Re: Forthcoming Lawsuit in S.D. Fla. by Norwegian Cruise Lines vs. Florida's Surgeon General
   Seeking Preliminary Injunction

                             [EXTERNAL EMAIL from james.uthmeier@eog.myflorida.com]


   Hi Derek-

   I’m copying Louise St. Laurent who is GC for the Dep’t of Health.

   Are you proposing a waiver of service form with extended response deadlines in lieu of the
   standard federal rules?

   Please advise, thanks.

   James

   Get Outlook for iOS

   From: Derek Shaffer <derekshaffer@quinnemanuel.com>
   Sent: Tuesday, July 13, 2021 11:51 AM
   To: Uthmeier, James; 'James Percival'; Jason Hilborn
   Cc: John OSullivan; Olga Vieira; Jonathan Cooper
   Subject: RE: Forthcoming Lawsuit in S.D. Fla. by Norwegian Cruise Lines vs. Florida's Surgeon
   General Seeking Preliminary Injunction

   Dear Mr. Uthmeier: Please see below and attached. We’ll be at your disposal and glad to discuss
   anything, with you or any colleagues who may be appropriate for that purpose. For starters, will you
   please let us know whether you’ll accept email service on behalf of the Surgeon General, without need
   for a summons? Thanks, and best,

   Derek Shaffer


   Derek Shaffer
   Partner,
   Quinn Emanuel Urquhart & Sullivan, LLP

   1300 I Street, NW, Suite 900
   Washington, D.C. 20005
   202-538-8123 Direct
                                                       5
Case 1:21-cv-22492-KMW Document 11-2 Entered on FLSD Docket 07/14/2021 Page 7 of 10
   202.538.8000 Main Office Number
   202.538.8100 FAX
   derekshaffer@quinnemanuel.com
   www.quinnemanuel.com

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   From: James Percival [mailto:James.Percival@myfloridalegal.com]
   Sent: Tuesday, July 13, 2021 11:46 AM
   To: Derek Shaffer <derekshaffer@quinnemanuel.com>; Jason Hilborn
   <Jason.Hilborn@myfloridalegal.com>
   Cc: John OSullivan <johnosullivan@quinnemanuel.com>; Olga Vieira <olgavieira@quinnemanuel.com>;
   Jonathan Cooper <jonathancooper@quinnemanuel.com>
   Subject: Re: Forthcoming Lawsuit in S.D. Fla. by Norwegian Cruise Lines vs. Florida's Surgeon General
   Seeking Preliminary Injunction

                                    [EXTERNAL EMAIL from james.percival@myfloridalegal.com]


   I suggest reaching out to the Governor’s GC’s office.

   The GC is James Uthmeier.
   james.uthmeier@eog.myflorida.com


   From: James Percival <James.Percival@myfloridalegal.com>
   Sent: Tuesday, July 13, 2021 11:01 AM
   To: Derek Shaffer; Jason Hilborn
   Cc: John OSullivan; Olga Vieira; Jonathan Cooper
   Subject: Re: Forthcoming Lawsuit in S.D. Fla. by Norwegian Cruise Lines vs. Florida's Surgeon
   General Seeking Preliminary Injunction

   I have no idea one way or the other whether that is true and it feels like you are pushing me to
   engage on something I am not authorized to engage on. I’m sure it’s unintentional—to your
   point, reflecting a lack of understanding of Florida’s government structure.

   From: Derek Shaffer <derekshaffer@quinnemanuel.com>
   Sent: Tuesday, July 13, 2021 10:56 AM
   To: James Percival; Jason Hilborn
   Cc: John OSullivan; Olga Vieira; Jonathan Cooper
   Subject: RE: Forthcoming Lawsuit in S.D. Fla. by Norwegian Cruise Lines vs. Florida's Surgeon
   General Seeking Preliminary Injunction

   We appreciate that and will look forward to receiving the right contact information. Also, my
   expectation (however naïve and ill-informed) is that your office will ultimately be defending against our
   lawsuit, including the PI request. If so, this thread will make clear that we were engaging with you at the
   outset of the litigation (indeed, even before we filed) in an effort to arrive at a workable schedule.


                                                                          6
Case 1:21-cv-22492-KMW Document 11-2 Entered on FLSD Docket 07/14/2021 Page 8 of 10

   From: James Percival [mailto:James.Percival@myfloridalegal.com]
   Sent: Tuesday, July 13, 2021 10:53 AM
   To: Derek Shaffer <derekshaffer@quinnemanuel.com>; Jason Hilborn
   <Jason.Hilborn@myfloridalegal.com>
   Cc: John OSullivan <johnosullivan@quinnemanuel.com>; Olga Vieira <olgavieira@quinnemanuel.com>;
   Jonathan Cooper <jonathancooper@quinnemanuel.com>
   Subject: Re: Forthcoming Lawsuit in S.D. Fla. by Norwegian Cruise Lines vs. Florida's Surgeon General
   Seeking Preliminary Injunction

                           [EXTERNAL EMAIL from james.percival@myfloridalegal.com]


   I cannot accept service for an entity I don’t represent. We are of course interested in the litigation
   and appreciate the courtesy. I will try to find a contact for the surgeon general’s office but I don’t
   have one at the moment.

   From: Derek Shaffer <derekshaffer@quinnemanuel.com>
   Sent: Tuesday, July 13, 2021 10:40 AM
   To: James Percival; Jason Hilborn
   Cc: John OSullivan; Olga Vieira; Jonathan Cooper
   Subject: RE: Forthcoming Lawsuit in S.D. Fla. by Norwegian Cruise Lines vs. Florida's Surgeon
   General Seeking Preliminary Injunction

   Thanks for the response. We’ll report your position on our amicus brief just as you say. But I’m not sure
   where the rest of your response leaves us.

   Just to be clear, am I right in understanding that you won’t accept service for the Surgeon
   General? Relatedly, is there someone to whom we should be sending courtesy copies of our
   submissions as filed? We’re trying to be helpful here, and I’m wondering if you can help us be helpful,
   either by forwarding our submissions along or else pointing us in the right direction. One thing you’re
   not telling me – and I’d be shocked if you did tell me – is that those whom you do represent for the State
   of Florida aren’t interested in this litigation. I’m hoping you’ll engage further in that light.

   Best,

   Derek

   From: James Percival [mailto:James.Percival@myfloridalegal.com]
   Sent: Tuesday, July 13, 2021 10:24 AM
   To: Derek Shaffer <derekshaffer@quinnemanuel.com>; Jason Hilborn
   <Jason.Hilborn@myfloridalegal.com>
   Cc: John OSullivan <johnosullivan@quinnemanuel.com>; Olga Vieira <olgavieira@quinnemanuel.com>;
   Jonathan Cooper <jonathancooper@quinnemanuel.com>
   Subject: Re: Forthcoming Lawsuit in S.D. Fla. by Norwegian Cruise Lines vs. Florida's Surgeon General
   Seeking Preliminary Injunction

                           [EXTERNAL EMAIL from james.percival@myfloridalegal.com]


   Hi Derek,


                                                       7
Case 1:21-cv-22492-KMW Document 11-2 Entered on FLSD Docket 07/14/2021 Page 9 of 10

   Nice to meet you.

   Under state law, we don’t represent the Surgeon General unless retained.

   On the amicus, please represent our position to the court as follows: “We have no
   objection to amicus participating in the underlying appeal. But because amicus’s
   request to brief the stay comes the morning after Florida filed its response in
   accordance with the Court’s deadline for filing a response to the time-sensitive
   motion, we oppose amicus’s request to participate at this juncture, unless the Court
   gives Florida the opportunity to respond to the filing.”


   From: Derek Shaffer <derekshaffer@quinnemanuel.com>
   Sent: Tuesday, July 13, 2021 8:38 AM
   To: Jason Hilborn; James Percival
   Cc: John OSullivan; Olga Vieira; Jonathan Cooper
   Subject: Forthcoming Lawsuit in S.D. Fla. by Norwegian Cruise Lines vs. Florida's Surgeon
   General Seeking Preliminary Injunction

   Dear Messrs. Hilborn and Percival:

   My partners and I represent a series of entities Norwegian Cruise Lines entities – Norwegian Cruise Line
   Holdings, Seven Seas Cruises, and Oceania Cruises – that will later this morning be filing a complaint and
   seeking preliminary injunctive relief in the U.S. District Court for the Southern District of Florida against
   Florida’s Surgeon General, Dr. Scott Rivkees, in his official capacity. The object of our forthcoming
   challenge will be to restrain enforcement of Florida Statute § 381.00316, which prevents cruise lines and
   other businesses in Florida from requiring vaccine documentation from customers. Our grounds and
   concerns will be set forth in our papers, which we’ll be glad to email you (and/or any colleagues you
   may direct us to) as soon as they’re on file. To summarize, we’ll be contending that Florida’s prohibition
   (1) is preempted by federal law; (2) violates the First Amendment (as incorporated via the Fourteenth);
   (3) violates the Dormant Commerce Clause; and (4) violates substantive due process under the
   Fourteenth Amendment. And we’ll be asking the Court to grant a preliminary injunction by August 6.
   2021, so that Norwegian can resume passenger cruises from Florida on August 15, as Norwegian
   currently plans to do by requiring vaccine documentation from all passengers.

   We’re writing as we are to provide a courtesy heads-up and to open up lines of communication. You
   should of course feel free to forward our email to any relevant colleagues, and we’ll welcome your
   direction as to anyone else on your end whom we should be communicating with going forward. For
   the avoidance of any doubt, we’ll always be glad to engage with you and your colleagues about any
   means by which Norwegian can require vaccine documentation from passengers without facing
   exposure under Florida law or necessitating further dispute. Although our clients have engaged
   extensively with Florida officials about this, to no avail, that settlement door remains open now and
   going forward. Even assuming agreed resolution of the dispute continues to elude us, however, we
   have every intention to extend courtesies and to engage constructively about how this litigation can
   proceed expeditiously (consistent with the imperatives noted in our papers) in a way that works for
   everyone.

   Towards that end, we’ll be eager to talk to you about an appropriate schedule and see if we can reach
   agreement about that. To enable a ruling by August 6, we’d tentatively propose that a PI hearing be
   held in the latter part of July (July 28-30) or the beginning of August (August 2-3). Working backwards
   from that, we’d propose that you have 7 days to file an opposition by a specified time (like 3 Eastern)
                                                         8
Case 1:21-cv-22492-KMW Document 11-2 Entered on FLSD Docket 07/14/2021 Page 10 of 10
    next Tuesday, July 20, and that we then have 3 days to file a reply by the end of the day Friday, July
    23. That said, we welcome your reactions and will try to accommodate reasonable proposals in this and
    all other respects.

    Last, we would be grateful for prompt word of your position on two procedural points: First, will you
    accept service via email on behalf of Dr. Rivkees and the State? (We’d like to avoid any unnecessary
    resort to a formal summons and service.) Second, does the State consent to a motion that we’ll be filing
    later today on behalf of Norwegian Cruise Line Holdings, Seven Seas Cruises, and Oceania Cruises for
    leave to file a very short (~5-page) amicus brief with the Eleventh Circuit in support of CDC’s pending
    request for a stay of the preliminary injunction that Judge Merryday entered in the Middle District of
    Florida? We think it’s only appropriate to alert the Eleventh Circuit to the views we’ll be submitting to
    the Southern District of Florida, to the extent they may be relevant to the appellate court’s instant
    deliberations. And we’ll of course want to be able to report whether the State consents, opposes, or
    takes no position relative to our request to participate as amici.

    Thank you very much for your consideration, and we’ll look forward to working with you and your
    colleagues from here. Beyond the contact information reflected in my signature block, you should feel
    free to call me on my cell at            any time. Best regards,

    Derek Shaffer


    Derek Shaffer
    Partner,
    Quinn Emanuel Urquhart & Sullivan, LLP

    1300 I Street, NW, Suite 900
    Washington, D.C. 20005
    202-538-8123 Direct
    202.538.8000 Main Office Number
    202.538.8100 FAX
    derekshaffer@quinnemanuel.com
    www.quinnemanuel.com

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